      Case 3:24-cv-03899-VC     Document 61-1    Filed 05/02/25     Page 1 of 17



                          UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                             SAN FRANCISCO DIVISION


GREENACTION FOR HEALTH AND
ENVIRONMENTAL JUSTICE,                          Case No. 3:24-cv-3899-VC-DMR

            Plaintiff,                          MEMORANDUM OF POINTS AND
                                                AUTHORITIES IN SUPPORT OF
                v.                              FEDERAL DEFENDANTS’ MOTION
                                                FOR PARTIAL DISMISSAL OF
UNITED STATES DEPARTMENT OF THE                 PLAINTIFF’S SECOND AMENDED
NAVY, et al.,                                   COMPLAINT

            Defendants.                         Date:    June 18, 2025
                                                Time:    10:00 a.m.
                                                Location: Videoconference
                                                Judge:    Hon. Vince Chhabria




DATED: May 2, 2025                        Respectfully submitted,

                                          ADAM R.F. GUSTAFSON
                                          Acting Assistant Attorney General
                                          Environment & Natural Resources Division
                                          United States Department of Justice

                                           /s/ David Mitchell

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         Case 3:24-cv-03899-VC                         Document 61-1                   Filed 05/02/25               Page 2 of 17




                                                    TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................2

I.        Hunters Point history, CERCLA radiological response actions, and
          retesting ................................................................................................................................2

II.       The Hunters Point Federal Facilities Agreement .................................................................6

III.      The Hunters Point Five-Year Reviews ................................................................................6

THE SECOND AMENDED COMPLAINT ...................................................................................6

STANDARD OF REVIEW .............................................................................................................7

ARGUMENT ...................................................................................................................................8

I.        The first claim fails to plead a violation of the Work Plan ..................................................8

II.       The second claim does not plead a failure to perfom a non-discretionary
          duty ...................................................................................................................................10

III.      The third claim does not plead a violation of the FFA ......................................................11

CONCLUSION ..............................................................................................................................13




Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                                                                       i
         Case 3:24-cv-03899-VC                       Document 61-1                 Filed 05/02/25              Page 3 of 17




                                                TABLE OF AUTHORITIES

Cases

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 7

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .............................................................................................................. 7, 13

Brownell v. Ketcham Wire & Mfg. Co.,
  211 F.2d 121 (9th Cir. 1954) .................................................................................................... 11

Coos Cnty. Bd. of Cnty. Comm’rs v. Kempthorne,
  531 F.3d 792 (9th Cir. 2008) .................................................................................................... 10

F.A.A. v. Cooper,
  566 U.S. 284 (2012) .................................................................................................................. 10

Godecke v. Kinetic Concepts, Inc.,
  937 F.3d 1201 (9th Cir. 2019) .................................................................................................... 7

Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A.,
  530 U.S. 1 (2000) ...................................................................................................................... 10

Hummel v. Nw. Tr. Servs., Inc.,
  180 F. Supp. 3d 798 (W.D. Wash. 2016) ), aff’d, 740 F. App’x 142 (9th Cir. 2018) .............. 11

Sprewell v. Golden State Warriors,
  266 F.3d 979 (9th Cir. 2001) ...................................................................................................... 7

Starr v. Baca,
  652 F.3d 1202 (9th Cir. 2011) .................................................................................................. 13

United States v. Ritchie,
  342 F.3d 903 (9th Cir. 2003) ...................................................................................................... 7

Statutes

42 U.S.C. § 9604(a) ...................................................................................................................... 12

42 U.S.C. § 9620(e)(2).................................................................................................................... 6

42 U.S.C. § 9621(c) ........................................................................................................ 6, 7, 11, 12

42 U.S.C. § 9659(a)(1).................................................................................................................... 9


Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                                                               ii
         Case 3:24-cv-03899-VC                       Document 61-1                 Filed 05/02/25              Page 4 of 17




42 U.S.C. § 9659(a)(2)............................................................................................................ 10, 11

Code of Federal Regulations

40 C.F.R. § 300.430(a)(1)(i) ........................................................................................................... 7

Federal Registers

54 Fed. Reg. 48184 (Nov. 21, 1989)............................................................................................... 2

63 Fed. Reg. 69032 (Dec. 15, 1998) ............................................................................................... 2

64 Fed. Reg. 16351 (Apr. 5, 1999) ................................................................................................. 3

Rules

Fed. R. Civ. P. 12(b)(6) .................................................................................................................. 2




Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                                                              iii
      Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25      Page 5 of 17




                                       INTRODUCTION

       Since 1984, the U.S. Department of the Navy (“Navy”) has been responding to

contamination resulting from over 100 years of industrial activities at the former Hunters Point

Naval Shipyard (“Hunters Point”). In 1992, the Navy, the U.S. Environmental Protection

Agency (“EPA”), and the State of California entered a Federal Facilities Agreement (“FFA”)

governing the Navy’s response actions at Hunters Point under the Comprehensive Environmental

Response, Compensation, and Liability Act (“CERCLA”). Since 2006, the Navy has been

responding to radiological contamination under its CERCLA authority to conduct a removal

action to address immediate threats to human health and the environment.

       The Navy’s efforts were disrupted in the 2010s by pervasive fraudulent radiological

testing and reporting by a contractor, requiring retesting of the affected parcels under work plans

approved by EPA and the California Departments of Toxic Substances Control and Public

Health. While conducting retesting at parcel G under the Final Parcel G Removal Site

Evaluation Work Plan, including its addendum and revisions (collectively, the “Work Plan”), the

Navy discovered that the testing method being used, USEPA Method 905, was not reliable to test

for strontium at the low levels at the site. So the Navy changed the Work Plan to use the

Eichrom Method for total beta strontium instead.

       Then, the Navy coordinated with EPA and California as it conducted a verification study

under the Work Plan. That study showed the Eichrom Method for total beta strontium to be

reliable for testing at the site where USEPA Method 905 and the Eichrom Method testing only

for strontium-90 without an adjustment are not. In the Second Amended Complaint (“SAC”),

ECF No. 50, first claim, Plaintiff Greenaction for Health and Environmental Justice

(“Greenaction”) ignores the Work Plan change and alleges that the Navy’s decisions based on



Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                       1
      Case 3:24-cv-03899-VC            Document 61-1       Filed 05/02/25      Page 6 of 17




Method 905 testing and Eichrom Method testing only for strontium-90 constitute a Work Plan

violation claim under CERCLA’s citizen-suit provision. Because the Work Plan requires use of

the Eichrom Method for total beta strontium, these allegations fail to state a claim.

       In its second claim, Greenaction alleges that the Navy will fail to perform a CERCLA

non-discretionary duty in the future to timely complete the sixth five-year review of the remedial

actions selected at Hunters Point. But CERCLA’s citizen suit provision does not provide a cause

of action for this anticipatory claim and neither does the Declaratory Judgment Act. Therefore,

the second claim should be dismissed.

       Finally, the Court should dismiss the third claim, in which Greenaction alleges that the

Navy violated Section 6.1 of the FFA by failing to complete the fifth five-year review in

accordance with EPA’s CERCLA guidance documents. But Section 6 of the FFA does not apply

to five-year reviews and thus does not require compliance with any EPA CERCLA guidance

documents for the five-year reviews.

       For these reasons, Federal Defendants request that the Court dismiss the first, second, and

third claims under Federal Rule of Procedure (“Rule”) 12(b)(6) for failure to state a claim.

                                         BACKGROUND

I.     Hunters Point history, CERCLA radiological response actions, and retesting

       The Navy acquired Hunters Point during World War II and performed fleet maintenance

operations there until 1974. SAC ¶¶ 30-35. In 1974, Naval operations ceased. Id. ¶ 35. The

Navy then leased Hunters Point until 1986. Id. Industrial activities at Hunters Point resulted in

widespread distribution of contaminants. Id. ¶¶ 31-34. Between 1984 and 1991, the Navy

conducted a series of base-wide environmental investigations. 63 Fed. Reg. 69032, 69033 (Dec.

15, 1998). In 1989, EPA added Hunters Point to the National Priorities List. 54 Fed. Reg. 48184



Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        2
       Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25      Page 7 of 17




(Nov. 21, 1989). In 1992, the Navy, EPA, and California entered into the FFA under CERCLA

Section 9620. SAC ¶ 37. Hunters Point is divided into fourteen parcels for response actions. 1

Id. ¶¶ 39-40.

        On April 21, 2006, the Navy selected a base-wide removal action for radiological

contamination at Hunters Point. Id. ¶ 43. The removal action involved surveying radiological

contamination, excavating and disposing of soils, and decontaminating or demolishing

structures, among other actions. See Declaration of David Mitchell (“Mitchell Decl.”), Ex. A at

20, 25. 2 3

        The Navy contracted with Tetra Tech EC, Inc. (“Tetra Tech”) to perform radiological

remediation at Hunters Point. SAC ¶ 47. In October 2012, the Navy discovered discrepancies in

Tetra Tech’s sampling. Id. ¶ 48. The Navy, EPA, and California regulators created work plans

to govern the retesting of the parcels subject to Tetra Tech’s fraud, including parcel G. Id. ¶ 50.

For areas where there were sanitary sewers and storm drain trenches, 4 the work plans provide for

two phases of retesting. See Mitchell Decl., Ex. B at 6-7. In Phase 1, the Navy will excavate and

characterize 100% of the soil in one-third of the trenches at the parcels, with the trenches

selected being those with the highest potential for contamination. Id. In Phase 2, the Navy will



1
  The parcels are A-1, A-2, B-1, B-2, C, D-1, D-2, E, E-2, F, G, UC-1, UC-2 and UC-3. SAC
¶ 40. Parcel F covers offshore areas, the “UC” parcels are utility corridors, and the rest of the
parcels are land areas that include buildings and structures. Id. On April 5, 1999, EPA
announced that parcel A was removed from the National Priorities List. 64 Fed. Reg. 16351.
2
  The SAC incorporates by reference the 2006 Basewide Radiological Removal Action, Action
Memorandum. SAC ¶ 43.
3
  Cited document pincites are to the PDF page numbers of the relevant exhibit.
4
 The Work Plan also provides for retesting former building sites and crawl space areas, as well
as building investigations, which are not detailed in this motion because the SAC does not
contain allegations related to these portions of the Work Plan relevant to claim 1. SAC ¶¶ 98-
105.

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                          3
       Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25      Page 8 of 17




conduct soil sampling and a complete radiological surface scan of accessible areas of the parcels.

Id. The Navy will re-excavate 100% of Phase 2 trenches if contamination is identified in Phase

1. Id. at 9

        The Work Plan originally listed USEPA Method 905 to retest for strontium-90 at parcel

G. SAC ¶ 51. Phase 1 retesting using Method 905 produced some results that preliminarily

indicated strontium-90 above the remedial goal in soil samples. Id. However, the Navy

determined Method 905 was not reliable to test for strontium at the low levels being detected at

parcel G. See Mitchell Decl., Ex. C at 16. Notably, sample results could not be reproduced in

subsequent testing. See id., Ex. C at 14, Ex. D at 2. The Navy then identified the Eichrom

Method 5 as a more accurate method to test for strontium at parcel G. See id., Ex. C at 13, Ex. D

at 2. The Navy coordinated with EPA and California regulators to execute a series of

amendments to the Work Plan through field change requests that changed the testing procedure

to collect data for project decisions at parcel G to the Eichrom Method for total beta strontium

(“Eichrom Method TBS”). See id., Ex. C at 14-16, Ex. E at 4. The Work Plan provides for

changes by field change request when necessary. See, e.g., id. Ex. B at 10.

        First, the Navy replaced Method 905 with the Eichrom Method to test for strontium-90

and make project decisions under the Work Plan through Field Change Request 6. See id., Ex. D

at 2, 5. In Field Change Request 7, Revision 1, the Navy changed the Work Plan to use the

Eichrom Method to measure for total beta strontium, not just strontium-90, to make project

decisions for parcel G retesting. See id., Ex. E at 4. This change specified that total beta

strontium results would be compared to the strontium-90 remedial goal to make project


5
 The Eichrom Method is formally referenced as Eurofins-TestAmerica SOP No. ST-RC-0058,
“Sample Preparation for Strontium-89, Strontium-90 and Total Strontium Using Extraction
Chromatography.” See Mitchell Decl., Ex. D at 2.

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        4
       Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25      Page 9 of 17




decisions. See id.; see also id., Ex. C at 16. This approach is conservative because testing for

total beta strontium measures strontium-89 and strontium-90 together and compares the

combined result to the strontium-90 remedial goal. See id., Ex. C at 14-15, Ex. E at 4. Testing

only for strontium-90 using the Eichrom Method was producing artificially higher results

because lead-210 was comingled in the parcel G soil samples and interfering with the strontium-

90 results. See id., Ex. E at 4.

        The Navy then changed the Work Plan in Field Change Request 8 to perform a method-

verification study supporting and confirming the decision to use Eichrom Method TBS for parcel

G retesting and project decisions. See id., Ex. F at 4-5; see generally id., Ex. C. As part of the

verification study, the Navy performed multiple studies on the reliability of Method 905,

Eichrom Method testing only for strontium-90, and Eichrom Method TBS. See id., Ex. C at 15-

16. Method 905 failed the verification studies, and the Navy concluded it was not a reliable

analytical method to test for total beta strontium or strontium-90 at the levels being detected at

parcel G. See id. at 16. The Eichrom Method testing only for strontium-90 failed unless a

method blank population substraction was applied. See id. at 15-16. The Eichrom Method TBS

passed the verification studies, and the Navy concluded that it was the most accurate and precise

method available to test for strontium at parcel G. See id. Thus, the Navy confirmed its decision

to use the Eichrom Method TBS for retesting at parcel G and use those results for project

decisions. See id. at 16. EPA approved the method-verification study and California agreed with

the Navy’s decision to use Eichrom Method TBS for soil sampling analysis. Federal

Defendants’ Second Request for Judicial Notice, ECF No. 60, Nos. 1-3. There were no sample

results that exceeded the parcel G remedial goals for strontium-90 using Eichrom Method TBS.

SAC ¶¶ 55, 104; Mitchell Decl., Ex. C at 16.



Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                         5
       Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25       Page 10 of 17




II.     The Hunters Point Federal Facilities Agreement

        The FFA is an agreement between the Navy, EPA, and California “for the expeditious

completion . . . of all necessary remedial action” at Hunters Point. 42 U.S.C. § 9620(e)(2).

Section 6.1 of the FFA provides: “[T]he Parties agree to perform the tasks, obligations and

responsibilities described in this Section in accordance with CERCLA and CERCLA guidance

and policy.” Mitchell Decl., Ex. G § 6.1 (emphasis added). The tasks listed in Section 6.2 are

(1) remedial investigations, (2) feasibility studies, (3) all response actions, (4) operation and

maintenance of response actions, and (5) federal and state natural resources trustee notification

and coordination. Id. § 6.2. Five-year reviews are not a task, obligation, or responsibility

described in Section 6 of the FFA. See id. § 6. Rather, five-year reviews are specifically

addressed in Section 27 of the FFA, which does not reference CERCLA guidance and policy.

See id. § 27.

III.    The Hunters Point Five-Year Reviews

        When a remedial action leaves hazardous substances at a site, a review every five years is

required “to assure that human health and the environment are being protected by the remedial

action being implemented.” 42 U.S.C. § 9621(c). The Navy has completed all required five-

year reviews thus far, the most recent of which was completed in 2024. SAC ¶ 63. Greenaction

acknowledges that the sixth five-year review is not due yet. Id.

                           THE SECOND AMENDED COMPLAINT

        The SAC asserts four claims: (1) violation of the parcel G retesting Work Plan (which

Greenaction refers to as a “retesting agreement”); (2) a future violation of a non-discretionary

duty if the Navy fails to complete the sixth five-year review by July 8, 2028; (3) failure to

comply with the FFA by deviating from EPA’s CERCLA’s guidance documents in the fifth five-



Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        6
      Case 3:24-cv-03899-VC          Document 61-1         Filed 05/02/25      Page 11 of 17




year review; and (4) failure to complete an adequate fifth five-year review for Hunters Point in

violation of 42 U.S.C. § 9621(c) and 40 C.F.R. § 300.430(a)(1)(i). Defendants are moving to

dismiss the first, second, and third claims.

                                   STANDARD OF REVIEW

       Rule 12(b)(6) permits a court to dismiss a claim for “failure to state a claim upon which

relief can be granted.” A complaint must allege “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “While a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations,” a plaintiff must provide “more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. at 555 (citations and internal

quotation marks omitted). The plausibility requirement demands “more than a sheer possibility

that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 556). Dismissal is appropriate if a plaintiff fails to allege a viable legal

theory or sufficient facts under a viable legal theory. Godecke v. Kinetic Concepts, Inc., 937

F.3d 1201, 1208 (9th Cir. 2019). The court may consider documents incorporated by reference

in the complaint or matters subject to judicial notice. United States v. Ritchie, 342 F.3d 903, 908

(9th Cir. 2003). Courts need not accept the truth of allegations contradicting matters properly

subject to judicial notice or by exhibit. See Sprewell v. Golden State Warriors, 266 F.3d 979,

988 (9th Cir. 2001) (citations omitted). Courts also are not required to accept as true conclusory

allegations, unwarranted deductions, or unreasonable inferences. Id.




Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        7
       Case 3:24-cv-03899-VC         Document 61-1         Filed 05/02/25      Page 12 of 17




                                          ARGUMENT

I.      The first claim fails to plead a violation of the Work Plan. 6

        The SAC claims that the Navy is in violation of the Work Plan because the Navy has not

yet conducted 100% soil recharacterization at parcel G in Phase 2 of retesting. SAC ¶¶ 51-52,

98-105. In support, the SAC alleges that the Work Plan requires the Navy to conduct 100%

retesting in Phase 2 because Phase 1 retesting returned results above the strontium-90 remedial

goal using Method 905 and the Eichrom Method testing only for strontium-90. Id. ¶¶ 51-55, 98-

105.

        These allegations do not state a claim. As described above, the Work Plan requires the

use of the Eichrom Method TBS for retesting and project decisions at parcel G, not Method 905

or the Eichrom Method testing only for strontium-90. The original Work Plan specified Method

905 as the testing method. See supra at 4. But the Navy, with approval of EPA and California,

changed the Work Plan through field change requests to use the Eichrom Method TBS for

retesting at parcel G and uses those testing results for project decisions. See supra at 4-5.

        The Navy also performed a method-verification study under the Work Plan to support

the change that EPA approved and with which California agreed. See supra at 5. Thus,

Greenaction’s allegations about testing results using Method 905 cannot trigger 100% retesting

in Phase 2 and do not plead a violation of the Work Plan. Nor do Greenaction’s allegations

referencing Eichrom Method testing only for strontium-90. See SAC ¶¶ 55, 104. The Eichrom

Method TBS, the operative testing method under the Work Plan, did not return any results that


6
  Defendants rely on the allegations in the SAC, the Work Plan, the Final Technical
Memorandum: Strontium Analysis, Parcel G (“Strontium Memo”), and the Federal Defendants’
Second Request for Judicial Notice, ECF No. 60, for this claim. The Work Plan and Strontium
Memo are incorporated by reference in the SAC. See SAC ¶¶ 50, 52, 100. The Work Plan
includes Field Change Requests 6, 7 Revision 1, and 8. See Mitchell Decl., Exs. D, E, F.

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                      8
      Case 3:24-cv-03899-VC         Document 61-1        Filed 05/02/25      Page 13 of 17




exceeded the parcel G remedial goals for strontium-90, SAC ¶¶ 55, 104; Mitchell Decl., Ex. C at

16, which does not trigger 100% soil recharacterization in Phase 2 retesting at parcel G, see

Mitchell Decl., Ex. B at 6-7, 9.

       Greenaction’s allegations that the Navy improperly invalidated data do not rescue this

claim. See SAC ¶ 104. That is because Greenaction’s claim is a CERCLA citizen-suit that seeks

to enforce compliance with the Work Plan. Id. ¶¶ 100-04. Greenaction cannot plead such a

claim without identifying a violation of the effective terms of the Work Plan. 42 U.S.C.

§ 9659(a)(1) (imposing liability for violations). The SAC does not allege that the Navy’s change

to the Work Plan violated any law or that the Eichrom Method TBS is not the governing test

method for retesting at parcel G and project decisions. See SAC. Instead, the Complaint alleges

that the Navy “reneged on the [Work Plan].” SAC ¶ 104. But the Navy did not “renege” on the

Work Plan; it lawfully (and reasonably) changed the terms. See supra at 4-5. The SAC does not

allege otherwise. See SAC.

       In addition, Greenaction’s single allegation against EPA in the first claim does not state a

violation of the Work Plan by EPA. See SAC ¶ 105. In fact, the allegations about EPA are not

related to the terms of the Work Plan or compliance at all. Id. Instead, Greenaction alleges that

EPA’s “improper invalidation” of testing results failed to “assure the cleanup is and remains

protective.” Id. Greenaction’s allegations do not identify any specific provision of CERCLA,

the FFA, or the Work Plan that EPA violated. See SAC. Instead, Greenaction repeats the same

error it made in the first amended complaint by seeking to challenge EPA’s oversight of the

Navy’s work. See id ¶ 105. The threadbare allegations against EPA cannot state a claim for

violations of CERCLA, the FFA, or the Work Plan.




Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        9
        Case 3:24-cv-03899-VC          Document 61-1        Filed 05/02/25      Page 14 of 17




II.       The second claim does not plead a failure to perform a non-discretionary duty. 7

          The SAC alleges, under Section 9659(a)(2), that the Navy will complete the sixth five-

year review at Hunters Point after the date Greenaction has determined it is due; therefore,

according to Greenaction, the Navy will fail to perform that nondiscretionary duty in the future.

SAC ¶¶ 106-113. But CERCLA’s citizen-suit provision does not provide a cause of action to sue

for future failures to perform a nondiscretionary duty. CERCLA provides a right to sue “where

there is alleged a failure . . . to perform any act or duty under [CERCLA] . . . which is not

discretionary . . . .” 42 U.S.C. § 9659(a)(2) (emphasis added). The plain language and syntax

require the existence of a failure to perform the required duty, not potential future failures.

“Where there is alleged a failure . . . to perform . . . [a nondiscretionary duty],” id., cannot mean

(possibly) failing to perform a duty in the future. See Hartford Underwriters Ins. Co. v. Union

Planters Bank, N.A., 530 U.S. 1, 6 (2000) (“[W]hen the statute's language is plain, the sole

function of the courts—at least where the disposition required by the text is not absurd—is to

enforce it according to its terms.”) (internal citations and quotations omitted). Allegations that

the Navy will fail to complete the sixth five-year review in the future do not state a

nondiscretionary duty claim under Section 9659(a)(2).

          If the clear text does not mandate dismissal (it does), then Section 9659(a)(2)’s operation

as a limited sovereign immunity waiver does. See 42 U.S.C. § 9659(a)(2); cf. Coos Cnty. Bd. of

Cnty. Comm’rs v. Kempthorne, 531 F.3d 792, 801 (9th Cir. 2008) (noting that the Endangered

Species Act non-discretionary duty citizen-suit right-to-sue is a limited sovereign immunity

waiver). Sovereign immunity waivers must be strictly construed with all ambiguities interpreted

in favor of immunity. F.A.A. v. Cooper, 566 U.S. 284, 290 (2012). Even if ambiguous, the


7
    Defendants rely only on the allegations in the SAC for this claim.

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                         10
       Case 3:24-cv-03899-VC           Document 61-1      Filed 05/02/25       Page 15 of 17




sovereign immunity review standard does not allow extending Section 9659(a)(2) suits to claims

alleging a future failure to perform a nondiscretionary duty.

        Finally, Greenaction cannot rely on the Declaratory Judgment Act for a cause of action

here. The Declaratory Judgment Act provides a remedy in cases where a cause of action exists

but does not create an independent cause of action. Hummel v. Nw. Tr. Servs., Inc., 180 F. Supp.

3d 798, 810 (W.D. Wash. 2016), aff’d, 740 F. App’x 142 (9th Cir. 2018). And even if the

Declaratory Judgment Act provided an independent cause of action, it does not waive sovereign

immunity and thus does not authorize suit against the Navy. Brownell v. Ketcham Wire & Mfg.

Co., 211 F.2d 121, 128 (9th Cir. 1954) (“It is true that the Declaratory Judgment Act [] is not a

consent of the United States to be sued . . . .”).

III.    The third claim does not plead a violation of the FFA. 8

        The third claim alleges that the fifth five-year review violated Section 6.1 of the FFA

because the Navy did not act in accordance with EPA CERCLA guidance documents. SAC

¶¶ 119-20. Section 6.1 of the FFA requires the Navy “to perform the tasks, obligations and

responsibilities described in this Section in accordance with . . . CERCLA guidance and policy . .

. .” Mitchell Decl., Ex. G § 6.1 (emphasis added). The tasks, obligations, and responsibilities

identified in Section 6.2 are remedial investigations, feasibility studies, response actions and

their operation/maintenance, and certain notifications and coordination. Id. § 6. Section 6 does

not apply to the five-year reviews. See id § 6; see also id. § 27 (titled “Five Year Review”).

        CERCLA makes clear that five-year reviews are separate from actual response actions.

The lead agency must review certain remedial actions at least every five years. 42 U.S.C.



8
  Defendants rely on the allegations in the SAC and EPA documents incorporated by reference in
the SAC for this claim.

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        11
      Case 3:24-cv-03899-VC            Document 61-1        Filed 05/02/25      Page 16 of 17




§ 9621(c). If the lead agency determines “that action is appropriate at such site in accordance

with section 9604” the lead agency must take that action. Id. Section 9604 provides authority to

take response actions, the five-year review provision does not. Compare 42 U.S.C. § 9604(a),

with id. § 9621(c). So a five-year review may lead to further response actions, but it is not a

response action itself.

       Even if Section 6 applied to five-year reviews, Greenaction did not satisfy the minimum

pleading standard this Court highlighted in its order on Defendants’ motion to dismiss the first

amended complaint. ECF No. 44 at 5. As an initial matter, one of the documents Greenaction

cites, [sic] Citizen’s Guide to Capping, SAC ¶ 119(8), provides general information to the public

and therefore is not the kind of document that could be enforceable through the FAA. As it

explains: “This fact sheet is intended solely as general information to the public. It is not

intended, nor can it be relied upon, to create any rights enforceable by any party with the United

States.” Mitchell Decl., Ex. H at 3.

       All the other EPA documents that Greenaction cites, SAC ¶ 119(1)-(7), (9), provide for

site-specific flexibility. See Mitchell Decl., Ex. I at 6; Ex. J at 15-16; Ex. K at 4, 12, 23; Ex. L at

3; Ex. M at 2-3; Ex. N at 2; Ex. O at 2 n.1; Ex. P at 19 (noting the minimum performance

timeframe for CERCLA facility cover systems is often, but not always, assumed to be 30 years) 9.

As the Court directed, Greenaction had to plead how any deviations from the guidance

documents “were inappropriate or unjustified by site-specific conditions at Hunters Point.” ECF

No. 44 at 5. Instead, Greenaction alleges that it was arbitrary, capricious, or unlawful to deviate

from the guidance documents without sufficient explanation. SAC ¶ 120. Greenaction confuses



9
 Greenaction’s only alleged violations of EPA’s Draft Technical Guidance for RCRA/CERCLA
Final Covers are about the cover system lifetime. See SAC ¶ 119(9).

Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                         12
      Case 3:24-cv-03899-VC           Document 61-1        Filed 05/02/25       Page 17 of 17




the correct standard for a claim based on violations of the FFA. SAC ¶¶ 114-120. Greenaction

must allege facts to support its claim that deviations from the non-binding guidance documents

are, in fact, inappropriate or unjustified, not that the Navy failed to adequately explain its actions.

See ECF No. 44 at 5.

       Finally, Greenaction attempts to broaden the third claim beyond specific alleged

violations by using phrases like “among other violations.” SAC ¶¶ 119(1), (2), (4). A complaint

“must contain sufficient allegations of underlying facts to give fair notice and to enable the

opposing party to defend itself effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

Greenaction’s broadening phrases do not provide notice or plead a plausible claim beyond the

specific violations pleaded in the SAC. See Twombly, 550 U.S. at 555.

                                          CONCLUSION

       For the reasons above, the Court should dismiss the first, second, and third claims here.




Memorandum of Points and Authorities in Support of Motion to Dismiss
Case No. 3:24-cv-3899-VC-DMR                                                                        13
